Case 1:17-cr-00201-ABJ Document 315-16 Filed 06/04/18 Page 1 of 3




           EXHIBIT N
                               Case 1:17-cr-00201-ABJ Document 315-16 Filed 06/04/18 Page 2 of 3



Date/Time*        From              To       Method       Type                                     Content                                           Source


 2/24/2018;
               Paul Manafort     Person D1   Telephone Phone Call                    Attempted phone call - No duration                       Manafort Toll Records
15:51 (UTC)

 2/24/2018;
               Paul Manafort     Person D1   Telephone Phone Call                           1 min, 24 second call                             Manafort Toll Records
15:51 (UTC)

                                                                                                                                              Person D1 Production;
 2/24/2018;
               Paul Manafort     Person D1   WhatsApp     Chat                                   This is paul                                    Manafort iCloud
15:53 (UTC)
                                                                                                                                                   Production


 2/25/2018;
               Paul Manafort     Person D1   Telephone Phone Call                    Attempted phone call - No duration                       Manafort Toll Records
18:41 (UTC)


                                                                                                                                              Person D1 Production;
 2/26/2018;                                                          http://www.businessinsider.com/former-european-leaders-manafort-
               Paul Manafort     Person D1   WhatsApp     Chat                                                                                   Manafort iCloud
23:56 (UTC)                                                                       hapsburg-group-2018-2?r=UK&IR=T
                                                                                                                                                   Production

                                                                                                                                              Person D1 Production;
 2/26/2018;
               Paul Manafort     Person D1   WhatsApp     Chat          We should talk. I have made clear that they worked in Europe.            Manafort iCloud
23:57 (UTC)
                                                                                                                                                   Production


 2/27/2018;                                                                                                                                     Manafort iCloud
               Paul Manafort     Person D1   WhatsApp Phone Call                     Attempted phone call - No duration
11:03 (UTC)                                                                                                                                       Production


 2/27/2018;
               Paul Manafort     Person D1   Telephone Phone Call                    Attempted phone call - No duration                       Manafort Toll Records
11:31 (UTC)


 2/28/2018;                                                                                                                                        Person D2
                 Person A        Person D2   WhatsApp     Chat           [Person D2], hi! How are you? Hope you are doing fine. ;))
01:49 (CEST)                                                                                                                                       Production


 2/28/2018;                                                         My friend P is trying to reach [Person D1] to brief him on what's going        Person D2
                 Person A        Person D2   WhatsApp     Chat
01:51 (CEST)                                                                                          on.                                          Production


 2/28/2018;                                                                                                                                        Person D2
                 Person A        Person D2   WhatsApp     Chat       If you have a chance to mention this to [Person D1] - would be great
01:51 (CEST)                                                                                                                                       Production
                                   Case 1:17-cr-00201-ABJ Document 315-16 Filed 06/04/18 Page 3 of 3



 Date/Time*            From                To          Method       Type                                       Content                                       Source


                                                                             Basically P wants to give him a quick summary that he says to everybody
  2/28/2018;                                                                                                                                                Person D2
                     Person A           Person D2     WhatsApp      Chat     (which is true) that our friends never lobbied in the US, and the purpose
 01:53 (CEST)                                                                                                                                               Production
                                                                                                       of the program was EU


  2/28/2018;                                                                                                                                                Person D2
                     Person A           Person D2     Telegram      Chat                       Hey, how are you? This is [Person A].
 06:01 (CEST)                                                                                                                                               Production


  2/28/2018;                                                                                                                                                Person D2
                     Person A           Person D2     Telegram      Chat                              Hope you are doing fine.
 06:01(CEST)                                                                                                                                                Production


  2/28/2018;                                                                                                                                                Person D2
                     Person A           Person D2     Telegram      Chat        My friend P is trying to reach [D1] to brief him on what's going on
 06:01 (CEST)                                                                                                                                               Production


                                                                             Basically P wants to give him a quick summary that he says to everybody
  2/28/2018;                                                                                                                                                Person D2
                     Person A           Person D2     Telegram      Chat     (which is true) that our friends never lobbied in the US, and the purpose
 06:02 (CEST)                                                                                                                                               Production
                                                                                                       of the program was EU


  2/28/2018;                                                                 If you have a chance to mention this to [Person D1]. - it would be great. It   Person D2
                     Person A           Person D2     Telegram      Chat
 06:03 (CEST)                                                                would be good to get them connected to discuss in person. P is his friend.     Production


  4/4/2018;                                                                    Hi. This is [Person A's first initial]. My friend P is looking for ways to   Person D1
                     Person A           Person D1     WhatsApp      Chat
 13:00 (UTC)                                                                    connect to you to pass you several messages. Can we arrange that.           Production


   4/4/2018;                                                                 Hey. This is [Person A]. My friend P asked me again to help connect him        Person D2
                     Person A           Person D2     WhatsApp      Chat
 08:53 (CEST)                                                                                    with [Person D1]. Can you help?                            Production


   4/4/2018;                                                                  Hey. My friend P has asked me again if there is any way to help connect       Person D2
                     Person A           Person D2     Telegram      Chat
 08:54 (CEST)                                                                                       him through [Person D1]                                 Production


   4/4/2018;                                                                                                                                                Person D2
                     Person A           Person D2     Telegram      Chat                             I tried him on all numbers.
 08:54 (CEST)                                                                                                                                               Production

*UTC and CEST refer to Coordinated Universal Time and Central European Summer Time, respectively.
